
225 S.W.3d 607 (2005)
The STATE of Texas for the Best Interests and Protection of D.H.
No. 08-05-00199-CV.
Court of Appeals of Texas, El Paso.
September 29, 2005.
Edward Hernandez, Hernandez and Hernandez, El Paso, for appellant.
Donna J. Snyder, Assistant County Attorney, El Paso, for appellee.
Before BARAJAS, C.J., McCLURE, and CHEW, JJ.

OPINION
DAVID WELLINGTON CHEW, Justice.
Pending before the Court is Appellant's motion to dismiss the appeal. See TEX. R.APP.P. 42.1(a)(1). Appellant filed her notice of appeal on May 19, 2005, appealing the trial court's order authorizing administration of psychoactive medication. Counsel for Appellee does not oppose the motion to dismiss. Appellant has complied with the requirements of Rule 42.1(a)(1). The Court has considered the Appellant's motion and concludes the motion should be granted and the appeal should be dismissed. The appeal is hereby DISMISSED.
